     Case 1:04-cr-00006-MW-GRJ          Document 543       Filed 09/27/05     Page 1 of 1


                                                                                      Page 1 of 1


                     IN THE UNITED STATES DISTRICT COURT FOR THE
                            NORTHERN DISTRICT OF FLORIDA
                                 GAINESVILLE DIVISION


UNITED STATES OF AMERICA,

v.                                                          CASE NO. 1:04-cr-00006-MP-AK

CEDRIC ERON FERGUSON, JR,

      Defendant.
___________________________/

                                         ORDER

       This matter is before the Court on Doc. 536, Motion to Continue Sentencing as to Cedric

Eron Ferguson, Jr. The motion is granted and the sentencing is hereby reset for November 9,

2005, at 2:00 p.m.

       DONE AND ORDERED this 27th day of September, 2005


                                     s/Maurice M. Paul
                                Maurice M. Paul, Senior District Judge
